Case 2:18-cv-02706-TLP-dkv Document 141 Filed 09/13/19 Page 1 of 1                PageID 1849



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION


   SHELBY COUNTY ADVOCATES FOR                    )
   VALID ELECTIONS, MICHAEL                       )
   KERNELL, JOE TOWNS, JR., ANN                   )
   SCOTT, and BRITNEY THORNTON,                   )
                                                  )
          Plaintiffs,                             )       No. 2:18-cv-02706-TLP-dkv
                                                  )
   v.                                             )       JURY DEMAND
                                                  )
   TRE HARGETT, in his official capacity as       )
   TENNESSEE SECRETARY OF STATE, et               )
   al.,                                           )
                                                  )
          Defendants.                             )


                                       JUDGMENT


  JUDGMENT BY COURT. This action came before the Court on Plaintiff’s Complaint,

  filed on October 12, 2018. (ECF No. 1.) In accordance with the Order Granting Motions to

  Dismiss, (ECF No. 140), entered by the Court,

  IT IS ORDERED, ADJUDGED AND DECREED that this action is DISMISSED

  WITHOUT PREJUDICE.

 APPROVED:

  s/ Thomas L. Parker
  THOMAS L. PARKER
  UNITED STATES DISTRICT JUDGE

  September 13, 2019
  Date
